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                      BEFORE THE UNITED STATES JUDICIAL PANEL ON
                              MULTIDISTRICT LITIGATION


    In re:                                              MDL No. 3100
    Real Estate Commission Antitrust Litigation




    STATEMENT OF CERTAIN DEFENDANTS REGARDING CONTINUED JOINDER
      IN SUPPORT OF DEFENDANT NATIONAL ASSOCIATION OF REALTORS®
         BRIEF REQUESTING TRANSFER OF ACTIONS TO THE NORTHERN
          DISTRICT OF ILLINOIS FOR COORDINATED OR CONSOLIDATED
              PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407

          Defendants Ansley Atlanta Real Estate, LLC; At World Properties, LLC; HomeSmart

Holdings, Inc.; HomeSmart International, LLC; Marin Association of REALTORS®; North Bay

Association of REALTORS®; Palmerhouse Properties, LLC; The Real Brokerage, Inc.; Real

Broker, LLC; Realty ONE Group, Inc.; Solid Source Realty, Inc. and Weichert, Realtors, by and

through their undersigned counsel, respectfully submit this Joint Notice to the Panel regarding

their continued joinder in support of the Response of Defendant National Association of

REALTORS® (“NAR”) in Support of Transfer of Actions to the Northern District of Illinois for

Coordinated or Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. § 1407 (ECF. No. 295)

(“NAR Response Brief”), attached hereto as Exhibit 1.1 The NAR Response Brief was filed by

NAR on January 26, 2024. On Friday, March 15, 2024, NAR announced it had entered into a

settlement agreement with plaintiffs. Paragraph 61(ix) of that settlement agreement provides that

NAR must “withdraw” the NAR Response Brief within five business days after execution of the

settlement agreement, which is March 22, 2024. The undersigned parties submit this statement


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  Consistent with their prior filing (ECF No. 341-1), The Real Brokerage, Inc. and Real Broker
LLC take no position on centralization but join NAR’s arguments concerning the proper forum
in the event the Panel decides to centralize the Actions.

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to the Panel to clarify that they continue to join in and support the positions raised in the NAR

Response Brief. Any withdrawal by NAR is only as to NAR and is not a withdrawal by any of

the undersigned parties.



Dated: March 21, 2024                              Respectfully submitted,

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